Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 1 of 10 PageID #:9




                                                       EXHIBIT A
                    Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 2 of 10 PageID #:10
Hearina Date: Nbltlei#pAlqpgottaWlagLWed by the Illinois Supreme Court and ia required to be accepted in all Illinois Circuit Courts.
Locati~lrl: «Cou§%"6 ,pbrrtNOIS,                                                                      For Cotrit Use Orfy
Judge Calendar, W
                     CIRCUIT COURT                                                                                  FILED
                                                                         SUMMONS
                                                                                                                    1/4/2023 3:22 PM
             Cook                  COUNTY                                                                           IRIS Y. MARTINEZ
                                                                                                                    CIRCUIT CLERK
            Instructions-                                                                                           COOK COUNTY, IL
o        Enter above the county                          Abdul Mohammed                                             2023L000018
o        name where the case         Plaintiff / Petitioner (First, middle, last name)                              Calendar, W
_j       was filed.                                                                                                 20896876
       Enter your name as
       PI aintiff/Petitioner.       V.
       Enter the names of all
       people you are suing as                     Canrana Co.et.al                                                 2023-L-000018
       Detendants/                  Defendant / Respondent (First, middle, last name)                    I    Case Number
       Respondents.

       Enter the Case Number
       given by the Circuit         ❑ Alias Summons (Check this box if this is not the 1st
       Clerk.                        Summons issued for this Defendant.)

                                  There may be court fees to siart or respond to a case. If you are unable to pay your court fees, you can apply
                                  for a fee waiver. You can find the fee waiver application at: illiiloiscourts.gov/docui-nents-and-
                                  forms/aproved-forms .
                                  E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                                  filing service provider. Visit efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
           IMPORTANT              service provider. If you need additional help or have trouble e-filing, visit illinoiscourts. eov/faq/gethelp.asp
         INFORMATION:             or talk with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that
                                  allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                                  illinoislegal aid.org.
                                  Call or text Illinois Court Help at 833-411-1121 for infonnation about how to go to court including how to
                                  fill out and file forms. You can also get free legal infonnation and legal referrals at illinoislegalaid.org.

                                  Do not use this form in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                                  Summons, Small Claims Summons, or Summons Petition for Dissolution of Marriage / Civil Union available
                                  at illinoiscourts.Qov/documents-and-forms/approved-forms. If your case is a detinue or replevin, visit
        Plain tiff/Petition er:   illinoisleCalaid.oru for help.
                                  If you are suing more than l Defendant/Respondent, fill out a Summons form for each
                                  Defendant/Respondent.

        In la, enter the name         1.    Defendant/Respondent's address and service infonnation:
        and address of a                    a. Defendant/Respondent's i ary address/informa io            rvice:
        Defendant/
        Respondent. If you are                  Name   (First, Middle,   st): Carvana    Co.
        serving a Registered                    Registered Age s name, if any: Illinois Corporation Service Company
        Agent, include the
        Registered Agent's
                                                Street Address, Unit #: 801 Adlai Stevenson Dr, S rin filed, IL 62703
        name and address here.                  City, State, ZIP:      hica o, Illinois 60602
                                                Telephone:                                 Email:
        In Ib, enter a second               b. If you have more than one address where Defendant/Respondent might be found,
        address for Defendant/
                                                  list that here:
        Respondent, if you
        have one.                                 Name (First, Middle, Last):
                                                  Street Address, Unit #:
                                                  City, State, ZIP:
        In 1 c, check how you                     Telephone:                                   Email:
                                                                                                 _
        are sending your
                                            C.    Method of service on Defendant/Respondent:
        documents to
        Defendant/                                ❑✓ Sheriff            ❑ Sheriff outside Illinois:
        Res ondent.                                                                                            County & State
                                                  ❑    Special process server                ❑    Licensed private detective

                                                                                                                                     EXHIBIT A
        SU-S 1503.2                                                       Page 1 of4                                                           (06/21)
                Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 3 of 10 PageID #:11
                                                                Enter the Case Number given by the Circuit Clerk:         2023-L-000018

     In 2, enter the amount        2.    Information about the lawsuit:
     of money owed to you.
                                         Amount claimed: $ 88,000,000.(
     In 3, enter your
     complete address,             3.    Contact information for the PlaintifF/Petitioner:
     telephone number, and               Name (First, Middle, Last): Abdul Mohammed
00   email address, if you
0    have one.                           Street Address, Unit #: 258 East Bailey Rd, Apt C
0
0
0                                        City, State, ZIP: Naperville, Illinois 60565
J
N                                        Telephone: (331) 203-4043                 Email:             aamohammed(cD_hotmail.com
O
N
~    GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
d    every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.
N
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f7
(o
N
O
          Important             You have been sued. Read all of the documents attached to this Summons.
N    information for the
d'                              To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
      person getting this       the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
ui          form                be found at: illinoiscourts. ov/documents-and-forms/a roved-forms/.
a
❑
❑    Check 4a or 4b. If            4.    Instructions for person receiving this Summons (Defendant):
w
J
a:   Defendant/Respondent          ❑,/   a. To respond to this Summons, you must file Appearance and Answer/Response
     only needs to file an
     Appearance and                           forms with the court within 30 days after you have been served (not counting the day
     Answer/Response                          ofservice) by e-filing or at:
     within 30 days, check
     box 4a. Otherwise, if                    Address: 50 West WashinQton St
     the clerk gives you a                    City, State, ZIP: Chicago, Illinois 60602
     court date, check box
     4b.
                                   ❑     b.   Attend court:
     In 4a, fill out the                      On:                                 at                        ❑ a.m. ❑ p.m. in
     address of the court                             Date                               I ime                                       Courtroom
     building where the
                                              In-person at:
     Defendant may file or
     e-file their
     Appearance and                           Courthouse Address                  City                                   State              Z/P
     Answer/ Response.                        OR
      In 4b, fill out:                        Remotely (You may be able to attend this court date by phone or video conference.
     • The court date and
       time the clerk gave                    This is called a"Remote Appearance"):
       you.                                         By telephone:
     • The courtroom and                                                 Call-in number for telephone remote appearance
       address of the court                         By video conference:
       building.                                                                  Video conference website
     • The call-in or video
       information for
       remote appearances                            Video conference log-in information (meeting /D, password, etc.)
       (if applicable).
     • The clerk's phone                      Call the Circuit Clerk at:                                                 or visit their website
       number and website.                                                    Circuit Clerk's phone number
      All of this information
      is available from the                   at:                                                         to find out more about how to do this.
      Circuit Clerk.                                  Website




             STOP!                 Witness this Date:                                                                                     Sea! of Court
     The Circuit Clerk will
     fill in this section.         Clerk of the Court:
             STOP!
     The officer or process        This Summons must be served within 30 days of the witness date.
     server will fill in the
     Date of Service.              Date of Service:
                                                          (Date to be entered by an officer orprocess server on the copy of this Summons left
                                                          with the Defendant or other person.)

     SU-S 1503.2                                                          Page 2 of 4                                                  EXHIBIT   A
                                                                                                                                            (06/21)
               Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 4 of 10 PageID #:12
'         • This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                                          For Couri Use Ority
             STATE OF ILLINOIS,
              CIRCUIT COURT                                PROOF OF SERVICE OF
                                                              SUMMONS AND
       Cook                      COUNTY                     COMPLAINT/PETITION

        Instructions
    Enter above the
    county name where                                  Abdul Mohammed
    the case was tiled.           Plaintiff / Petitioner (First, middle, last name)
    Enter your name as
    P laintiff/Petitioner.
    Enter the names of all         V.
    people you are suing
    as Defendants/                                  Caryana Co.et.al
    Respondents.
                                  Defendant / Respondent (First, middle, last name)
    Enter the Case                                                                                                2023-L-000018
    Number given by the           ❑ Alias Summons (Check this box if this is not the 1"                   Case Number
    Circuit Clerk.                 Summons issued for this Defendant.)

                    **Stop. Do not complete the form. The sheriff or special process server will fill in the form**

        My name is                                                                       and I state
                             First, Middle, Last
        ❑ I served the Summons and Complaint/Petition on the Defenda nt/Respondent
                                                                                                       as follows:
        First, Middle, Last

                ❑     Personally on the Defendant/Respondent:
                      Male ❑ Female ❑ Non-Binary              ❑                 Approx. Age:            Race:
                      On this date:                               at this time:                 ❑ a.m. ❑ p.m.
                      Address, Unit#:
                      City, State, ZIP:

                ❑     On someone else at the Defendant/Respondent's home who is at least 13 years old and is a family
                      member or lives there:
                      On this date:                     at this time:              ❑ a.m. ❑ p.m.
                      Address, Unit#:
                      City, State, ZIP:
                      And left it with:
                                            First, Middle, Last
                      Male   ❑ Female ❑ Non-Binary               ❑    Approx. Age:                Race:
                      and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                      above address on                     1 20
                ❑     On the Corporation's agent,
                                                          First, Middle, Last

                      Male     ❑     Female        ❑    Non-Binary      ❑       Approx. Age:            Race:
                      On this date:                               at this time:                 ❑ a.m. ❑ p.m.
                      Address:
                      City, State, ZIP:




                                                                                                                                EXHIBIT A
    SU-S 1503.2                                                        Page 3 of4                                                    (06/21)
                   Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 5 of 10 PageID #:13
                                                   Enter the Case Number given by the Circuit Clerk: 2023-L-000018
     r      ❑ I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

             First, Middle, Last

             I made the follovuing attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

co           1      On this date:                               at this time:               ❑ a.m. ❑ p.m.
0
0
0                   Address:
J
co
N
                    City, State, ZIP:
O
N                   Other information about senrice attempt:
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V
             2.     On this date:                               at this time:               ❑ a.m. ❑ p.m.
ui
                    Address:
a
❑                   City, State, ZIP:
❑
w
J_                  Other information about service attempt:
LL




             9      On this date:                               at this time:               ❑ a.m. ❑ p.m.
                    Address:
                    City, State, ZIP:
                    Other information about service attempt:




          DO NOT complete           If you are a special process server, sheriff outside Illinois, or licensed private detective,
          this section. The
          sheriff or private
                                    your signature certifies that everything on the Proof of Service of Summons is true and
          process server will       correct to the best of your knowledge. You understand that making a false statement on
          complete it.              this form could be perjury.

                                    By:                                             FEES
          Under the Code of                                                         Service and Return:    $
          Civil Procedure, 735
                                    Signature by:   ❑ Sheriff                       Miles                  $
          ILCS 5/1-IU4,
          making a statement                        ❑ Sheriff outside Illinois:     Total                  $ 0.00
          on this form that you
          know to be false is
          perjury, a Class 3                            County and State
          Felony.                                   ❑   Special process server
                                                    ❑   Licensed private
                                                        detective

                                    Print Name

                                    If Summons is served by licensed private detective or private detective agency:
                                    License Number:




         SU-S 1503.2                                                  Page 4 of 4
                                                                                                                      EXHIBIT   A
                                                                                                                           (06/21)
                 Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 6 of 10 PageID #:14
            1

All Law Division initial Case Management Dates will be heard via ZOOM.
For more information and Zoom Meeting IDs go to https://www.cookcountycourt.org/HOME/Zoom-Links/Agg4906_SelectTab/12
Remote Court date: 3/29/2023 9:00 AM     IN THE CIRCUIT COURT OF COOK COUNTY
                                                                                                          FILED
                                                                                                          1/3/2023 12:00 AM
                  ABDUL MOHAMMED,                                                                         IRIS Y. MARTINEZ
                                                                                                          CIRCUIT CLERK
00                                                                                                        COOK COUNTY, IL
                                             Plaintiff,
                                                                                                          2023L000018
                                                                                                          Calendar, W
                           V.                                                                             20861917

                  CARVANA CO., BRIDGECREST
                  ACCEPTANCE CORPORATION,
                  BRIDGECREST CREDIT COMPANY
                  PLLC, BRIDGECREST CREDIT
                  COMPLANY LLC, SILVER ROCK INC,
                  AND MARY LEIGH PHILLIPS,

                                             Defendants.




                                                          COMPLAINT AT LAW
                Abdul Mohammed ("PlaintifP'), individually, upon personal knowledge of facts pertaining to him
                and on information and belief, appearing Pro Se, brings this complaint against Carvana Co.
                (hereinafter Carvana), Bridgecrest Acceptance Corporation, Bridgecrest PLLC, Bridgcrest LLC
                (hereinafter Bridgecrest), Silver Rock Inc (hereinafter Silver Rock) and May Leigh Phillips.
                                                    JURISDICTION AND VENUE
           1. This Court has original jurisdiction over the subject matter of the claims brought under Illinois State
                Common Law.
           2. Further, Defendants are authorized to conduct operations and are conducting operations in this
                court's jurisdiction. Plaintiff is a resident of the State of Illinois.
           3. Further, the venue is proper as the Defendants are authorized to conduct operations and conducting
                operations in this court's jurisdiction.
                                                      NATURE OF TI-IE ACTION
           4. Further, Plaintiff bought a 2014 Nissan Altima (hereinafter vehicle) from Defendants Carvana and
                Bridgecrest on December 28, 2021.
           5. Defendants Carvana and Bridgecrest provided a 100 days/4189 miles warranty through Silver Rock
                to Plaintiff.
           6. Within 100 days/4189 miles the Plaintiff called Silver Rock with a problem with the airbag but Silver
                Rock informed that they will not cover the repair for the airbag.




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                                                                                                                       EXHIBIT A
           Case: 1:23-cv-01581 Document #: 1-1 Filed: 03/14/23 Page 7 of 10 PageID #:15




     7. Further, Plaintiff operated the Air Conditioning (hereinafter AC) in the vehicle for the first time
        since he bought the car on June 16, 2022, but the AC was not worlz-ing.
2
0
0
     8. Further, Plaintiff called Silver Rock to fix the AC, but Silver Rock refused to fix the AC.
0
N0   9. Further, Plaintiff spent $282.00 to have the vehicle's AC diagnosed and the mechanic has informed
N
~        Plaintiff that the AC Compressor and AC Condenser are very weak and hence the AC is not
Q
o       working.
N
N    10. Further, the Mechanic has given an estimate of approximately $1750.00 to fix the AC.
0
M    11. , Further Defendants Carvana and Bridgecrest sold the vehicle to Plaintiff with a bad airbag and bad

Q0       AC Compressor and AC Condenser.
W    12. Further, Plaintiff sent a check of $1000.00 to Bridgecrest towards his payment for the loan on or
J

`-       about August 20, 2022.
     13. Further, Bridgecrest informed the Plaintiff to send the check for $1000.00 to PO Box 842695, Los
         Angeles, CA 90084-2695.
     14. Further, now Bridgcrest is stating that they did not receive the check as the mentioned address is for
         paying off the loan.
     15. Further, Plaintiff does not have any responsibility for the lost check because he sent the check to the
         address given to him by Bridgecrest.
     16. Further, Bridgcrest is reporting 2 illegal late payments on Plaintiff's credit reports and Bridgecrest
         has refused to remove the 2 illegal late payments even though Bridgecrest is at fault for losing the
         check sent on or about August 20, 2022.
     17. Further, Plaintiff has not received the check back because the check was delivered to Bridgecrest.
     18. Further, the 2 illegal late payments on Plaintiff's credit reports violate Fair Credit Reporting Services
         (FCRA).
                                                        COUNTI
            ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                                                 (ALL DEFENDANTS)
     19. Further Plaintiff repeats and realleges all of the foregoing paragraphs as if fully set forth herein.
     20. Further the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.
         505/2, prohibits unfair methods of competition and unfair or deceptive acts or practices.
     21. Further Defendants' conduct, described above, was unfair and deceptive.
     22. Further Defendants' conduct was also unfair, immoral, unethical, oppressive, and unscrupulous, and
         substantially injured Plaintiff.




                                                                                                                 EXHIBIT A
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     23. Further Plaintiff suffered damages as a result of the Defendants' deceptive and unfair conduct.


o        WHEREFORE, Plaintiff, ABDUL MOHAMMED, demands judgment against the Defendants, for
0
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~
~
         damages, punitive damages, and compensatory damages in the amount of $50,000, and costs and
N
~        attorney's fees and any such other relief as the court may deem just and proper.
~
o                                                        COUNT II
0
~
co
                                              BREACH OF CONTRACT
N
M                              (DEFENDANTS CARVANA AND BRIDGECREST)
~    24. Further Pla.intiff repeats and realleges all of the foregoing paragraphs as if fully set forth herein.
¢
0w   25. Further Plaintiff and Defendants entered into a contract, but the Defendants have not provided a
LL       copy of the contract to Plaintiff.
     26. Further, the Defendants informed over the phone and through the delivery driver who delivered the
         car that everything in the vehicle is working fine including but not limited to the AC.
     27. Plaintiff has fully performed his obligations under the contract.
     28. Defendants breached the contract when they provided the vehicle whose airbag and the AC were
         not working.
     29. Defendants' conduct was willful and intentional and committed with a purpose to harm Plaintiff.
     30. Plaintiff suffered damages as a result of the breach of contract.
         WHEREFORE, Plaintiff, ABDUL MOHAMMED, demands judgment against the Defendants, for
         damages, punitive damages, and compensatory damages in the amount of $50,000, and costs and
         attorney's fees and any such other relief as the court may deem just and proper.
                                                         COUNT II
                        VIOLATIONS OF VIOI.ATIONS OF FCRA % 1681e (b) and 16811
                               (DEFENDANTS CARVANAAND BRIDGECREST)
     31. Further, Plaintiff repeats and realleges all of the foregoing paragraphs as if fully set forth herein.
     32. Further, Defendants violated 15 U.S.C. ~ 1681c(b) by its conduct, acts, and omissions in failing to
         establish and/or to follow reasonable procedures to assure the maximum possible accuracy of the
         information concerning Plaintiff in the preparation and publication of consumer reports about
         Plaintiff.
     33. Further, Defendants violated multiple sections of 15 U.S. C. 5 1681i by its acts and omissions,
         including, but not limited to, the following:




                                                                                                                  EXHIBIT A
                                                                                                                              3
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   a) failing to (i) conduct a reasonable reinvestigation of Plaintiff's disputes conceming all items of
       information that Plaintiff disputed, and (ii) record the correct status of the disputed
       information or delete the disputed information from Plaintiff's credit file in violation of 5
       1681i(a) (1);
   b) failing to review and consider all relevant information submitted by Plaintiff concerning
       Plaintiff's disputes, in violation of 5 1681i(a)(4); and
   c) failing to properly delete items of disputed information from the Plaintiffs credit file that
       Defendants could not have verified upon a lawful reinvestigation in violation of § 1681i(a)(5).
34. Further, these violations of ~~ 1681e(b) and 16811 were willful, rendering Defendants liable for
   statutoiy damages, actual damages, costs, reasonable attorney's fees, and punitive damages in an
   amount to be determined by the Court pursuant to § 1681(n).
35. Further, in the alternative, Defendants' violations of ~§ 1681(e) (b) and 16811 were negligent,
   entitling Plaintiff to recover actual damages, costs, and reasonable attorney's fees pursuant to ~
   1681(o) .

36. Further, Defendants are reporting incorrect derogatory information about Plaintiff as described
   above to one or more consumer reporting agencies (credit bureaus) as defined by 15 U.S.C. § 1681
   in violation of the Fair Credit Reporting Act.
37. Further, Plaintiff suffered damages as a result of the Defendants' violations of the Fair Credit
   Reporting Act. Due to Defendants' reporting of the incorrect derogatory information on the
   Plaintiff's Credit File at the three credit bureaus, Plaintiff has been denied credit by other creditors,
   Plaintiff was forced to enter into an auto loan at an exorbitant interest rate and the Plaintiff's Credit
   Score has been drastically affected.
38. Further, Plaintiff has disputed the unlawful derogatory information which is being reported by the
   Defendants on his credit reports several times, but the Defendants have refused to correct the
   unlawful derogatory information which is being reported by the Defendants on Plaintiff's credit
   reports
   WHEREFORE, Plaintiff, ABDUL MOHAMMED, demands judgment against the Defendants, for
    damages, punitive damages, and compensatory damages in the amount of $50,000, and costs and
   attorney's fees and any such other relief as the court may deem just and proper.




                                                                                                      EXHIBIT A
                                                                                                                  4
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Date-: January 2, 2023,                                     Respectfully Submitted,
                                                              /s/Abdul Mohammed,
                                                          258 East Bailey Rd., Apt. C
                                                                 Naperville, IL 60565
                                                                    Ph.630-597-3998




                                                                               EXHIBIT A
